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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                                 )
                                                          )
                  v.                                      )             Cr. No. 21-082 (CJN)
                                                          )
DALTON RAY CRASE,                                         )
                                                          )
            Defendant.                                    )
___________________________________                       )

                                            NOTICE OF FILING

         Mr. Dalton Crase, through undersigned counsel, respectfully submits this Notice of

Filing. By this Notice, Mr. Crase respectfully submits that this Court does not have the statutory

authority to impose 15 consecutive days of confinement as a condition of probation. 1 See 18

U.S.C. § 3563(b)(10). Further, Mr. Crase is requesting that if the Court imposes 15 days of

intermittent confinement pursuant to 18 U.S.C. § 3563 (b)(10), that the Court allow his

confinement to occur one time per month for five consecutive months, which equates to a total

15 day period of confinement.




                                                      Respectfully submitted,

                                                      A.J. KRAMER
                                                      FEDERAL PUBLIC DEFENDER


                                                      ______/s/____________________
                                                      Dani Jahn
                                                      Assistant Federal Public Defender
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1
        The defense continues to object to the imposition of confinement and probation in light of the either/or
language contained in 18 U.S.C. § 3551(b).
